                   IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                             DURHAM DIVISION
                             CASE NO. 1:17-CV-40

 HOUSTON CASUALTY COMPANY,      )
                                )
                     Plaintiff, )
                                )
                                                   JOINT STIPULATION OF
             v.                 )
                                               DISMISSAL WITH PREJUDICE BY
                                )
                                                       ALL PARTIES
 THOMAS LINDERMAN GRAHAM, )
                                                        (Rule 41(a)(ii))
 INC.,                          )
                                )
                   Defendant. )

         NOW COME all parties to this action and pursuant to Federal Rules of Civil

Procedure Rule 41(a)(ii) and through their counsel hereby jointly stipulate to and take a

Dismissal with Prejudice of any and all claims in this action, each party bearing its own

costs.

         This the 1st day of November, 2019.

                                          Stipulated to by:

                                          /s/Amiel J. Rossabi
                                          Amiel J. Rossabi
                                          NC State Bar 16984
                                          ROSSABI REARDEN KLEIN SPIVEY
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                                          Post Office Box 38278
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                                          Company.




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                                     /s/Theodore B. Smyth
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                                     NC State Bar 10045
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                                     Attorneys for Defendant Thomas Linderman
                                     Graham, Inc.




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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                                DURHAM DIVISION
                                CASE NO. 1:17-CV-40

 HOUSTON CASUALTY                             )
 COMPANY,                                     )
                                              )
                                Plaintiff,    )
                                              )
                       v.                     )      CERTIFICATE OF SERVICE
                                              )
 THOMAS LINDERMAN GRAHAM,                     )
 INC.,                                        )
                                              )
                            Defendant.        )

       I hereby certify that on the 1st day of November, 2019, the foregoing Joint
Stipulation of Dismissal with Prejudice By All Parties was electronically filed with the
Clerk of Court using the CM/ECF system, which will send notification to the following:

         Amiel J. Rossabi
         arossabi@r2kslaw.com

                                             Respectfully Submitted,

                                             /s/Theodore B. Smyth
                                             Theodore B. Smyth
                                             CRANFILL SUMNER & HARTZOG LLP
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                                             Raleigh, North Carolina 27611-7808
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                                             Attorneys for Defendant




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